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                    EXHIBIT A
   Case 1:20-cv-03837-PKC-TAM Document 59-1 Filed 02/10/22 Page 2 of 21 PageID #: 530

                                               DO NOT DETACH - TIIlS IS PAGE 1 OF                                                    (VJS60tS
                                                    RECORDED DOCUMENT
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                        NIAGARACOUNTYCLERKRECORDINGPAGE
                     OFF1CEOF THE CLERK             COUNTY OF NIAGARA                                                        505'C/56 hc/9
                             WAYNE F. JAGOW, COUNTY CLERK
             County Cow-thouse, 175 Hawley Street, P.O. Box 461, Lockport, NY 14095
                          Phone (716) 439-7027       Fax (716) 439-7066

INSTRUMENT DATE APRIL 17, 2005


DOCUMENT TYPE MORTGAGE
                        ----------
Parties: (Print NamesIn Full)
--       LISA S DESIMONE
1st Part
        -----------
2ndPart WILMINGTON FINANCE
                                                                             DOCUMENT~                               2002419
                                                                             BOOK5031 PAGE966
Town/City NIAGARA FALLS                                                            oF PAGES 19 MORTGAGr;
                                                                             NUMe,ER
                                                                             RECORDED04/25/2005 12:14:ou ~-
                                                                             RECEIPT~9484 DOCUMENT TOTAL:$809.00
Return To:                                                                   PAID- COUNTY CLERK
                                                                             WAYNEF. JAGOW
US Recordings, Inc.
2925 Country Drive Ste. 201
St. Paul, MN 55117



                                              TIIlS SPACERESERVEDFOR COUNTY CLERK

"MORTGAGE#              C.\+J -       SL\\

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                                        J[)D, 00
~One\two         family      _(_)Other

  [ ] Check if to be apportioned


RECORDINGTAX RECEIPT
                                                                                                                                   #__  _
BASIC                s 313. ~1)                       State of New York} ss                                                  REAL ESTATETRANSFER
ADDITIONAL          $          1.
                         \ lo,,\.     .s-             County of Niagara}
                                                      I do hereby certify that I have
                                                                                                                                          TAX

SPECIAL             $    I 1--<o,I~                   Received on the within Mortgage, being
                                                      the amount of the Recording Tall
                                                                                                                             $
                                                                                                                             --------
TOTAL               s          ••    .   (JD          Imposed thereon & paid at recording.
                                                                                                                                     ---I I
                                                                                                                                 NIAGARACOUNTY

Mortgag
  ,his sheet constirutes the Clerk's endorsement required by section 319 of the Real Property Law of the State of New York
                                                                          DO NOTDETACH
  Case 1:20-cv-03837-PKC-TAM Document 59-1 Filed 02/10/22 Page 3 of 21 PageID #: 531



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         401 PIyhloutnRoad. SUI te 400
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         PreparedBy:
         Wilmington Finance. a division of AIG Federal Savings Bank
         401 Plymouth Road. Suite 400
         Plymouth Meeting, PA 19462



         -----------[Space                                      AboveThisLine For RecordingData)-----------



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                                                                    TOS--      O\~   fG,o    N '2-.            1
          Loan Number: S05030649
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                                                       '---._                               _,..J:JecordfngsRequestedby &
                                                                ------------                    When RecordedReturnTo:
                                                                                                    USRecordings,Inc.
                                                                                                    2925 CountryDriveSte 201
                                                                                                    St. Paul, MN 55117
          WORDSUSED OFfEN IN THIS DOCUMENT
          (A) "SecurityInstrument."This document,which is dated April 07. 2005
          together with all Riders to tliis document, will be called the "SecurityInstrument."
        --(BJ~                               \
          LISAS. DESIMONE                    )
                                              ,/
-"'------
     ---------
                             ------/


          whose addressis 1053 91STSTREET
          NIAGARA FALLS.NY14304
          sometimeswill be called "Borrower"and sometimessimply "I" or "me."
          (C) "Lender."Wilmington Finance. a division of AIG Federal Savings Bank

          will be called "Lender." Lender is a corporation or association which exists under the laws of
          United States of America                  . Lender's addressis
          401 Plymouth Road. Suite 400
          Plymouth Meeting, PA 19462



          NEW YORK - Single Family- Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                      Form 3033 1 /01

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               ®
          Page 1 of 17                 Initials: -·~~) •

                VMP MORTGAGE FORMS· {800)521-7291                                                         11111111111111111
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      (D) "Note." The note signed by Borrower and dated                Apri1 07. 2005                   , will be called
      the "Note." The Note shows that I owe Lender
      Seventy-FourThousandSevenHundred &00/100
                                                  Dollars (U.S. $74. 700.00                         ) plus interest
      and other amounts that may be payable. I have promised to pay this debt in Periodic Payments and to pay
      the debt in full by May01, 2035
      (E) "Property." The property that is described below in the section titled "Description of the Property,"
      will be called the "Property."
      (F) "Loan." The "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and
      late charges due under the Note, and all sums due under this Security Instrument, plus interest.
      (G) "Sums Secured." The amounts described below in the section titled "Borrower's Transfer to Lender of
      Rights in the Property" sometimes will be called the "Sums Secured."
      (H) "Riders." All Riders attac~ed to this Security Instrument that are signed by Borrower will be called
      "Riders." The following Riders are to be signed by Borrower [check box as applicable]:
      D     Adjustable Rate Rider  D    Condominium Rider                 D   Second Home Rider
      D     Balloon Rider          D    Planned Unit Development Rider    D    1-4 Family Rider
      D     VA Rider               D    Biweekly Payment Rider            D   Other(s) [specify]


      (I) "Applicable Law." All controlling applicable federal, state and local statutes, regulations, ordinances
      and administrative rules and orders (that have the effect of law) as well as all applicable final,
      non-appealable, judicial opinions will be called "Applicable Law."
      (J) "Community Association Dues, Fees, and Assessments." All dues, fees, assessments and other
      charges that are imposed on Borrower or the Property by a condominium association, homeowners
      association or similar organization will be called "Community Association Dues, Fees, and Assessments."
      (K) "Electronic Funds Transfer." "Electronic Funds Transfer" means any transfer of money, other than
      by check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic
      instrument, computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit
      or credit an account. Some common examples of an Electronic Funds Transfer are point-of-sale transfers
      (where a card such as an asset or debit card is used at a merchant), automated teller machine (or ATM)
      transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
      (L) "Escrow Items." Those items that are described in Section 3 will be called "Escrow Items."
      (M) "Miscellaneous Proceeds." "Miscellaneous Proceeds" means any compensation, settlement, award of
      damages, or proceeds paid by any third party (other than Insurance Proceeds, as defined in, and paid under
      the coverage described in Section 5) for: (i) damage to, or destruction of, the Property; (ii) Condemnation
      or other taking of all or any part of the Property; (iii) conveyance in lieu of Condemnation or sale to avoid
      Condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the
      Property. A taking of the Property by any governmental authority by eminent domain is known as
      "Condemnation."
      (N) "Mortgage Insurance." "Mortgage Insurance" means insurance protecting Lender against the
      nonpayment of, or default on, the Loan.
      (0) "Periodic Payment." The regularly scheduled amount due for (i) principal and interest under the
      Note, and (ii) any amounts under Section 3 will be called "Periodic Payment."
      (P) "RESPA." "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et
      seq.) and its implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended
      from time to time, or any additional or successor legislation or regulation that governs the same subject
      matter. As used in this Security Instrument, "RESPA" refers to all requirements and restrictions that are
      imposed in regard to a "federally related mortgage loan" even if the Loan does not qualify as a "federally
      related mortgage loan" under RESPA.

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      BORROWER'STRANSFERTO LENDEROF RIGHTSIN THE PROPERTY
            I mortgage, grant and convey the Property to Lender subject to the terms of this Security Instrument.
      This means that, by signing this Security Instrument, I am giving Lender those rights that are
      stated in this Security Instrument and also those rights that Applicable Law gives to lenders who hold
      mortgages on real property. I am giving Lender these rights to protect Lender from possible losses that
      might result if I fail to:
      (A) Pay all the amounts that I owe Lender as stated in the Note including, but not limited to, all renewals,
      extensions and modifications of the Note;
      (B) Pay, with interest, any amounts that Lender spends under this Security Instrument to protect the value
      of the Property and Lender's rights in the Property; and
      (C) Keep all of my other promises and agreements under this Security Instrument and the Note.

      DESCRIPTIONOF THE PROPERTY
           I give Lender rights in the Property described in (A) through (G) below:
      (A) The Property which is located at
      1053 91STSTREET                                                                                          [Street)
      NIAGARA   FALLS                                   [City, Town or Village] , New York     14304       [Zip Code].
      This Property is in                        NIAGARA                           County. It has the following legal
      description:
      SEECOMPLETE
               LEGALDESCRIPTION
                            DESCRIBED
                                   IN EXHIBIT
                                           "A"ATTACHED
      HERETO
           AND
             MADEA PART
                      HEREOF.




      Parcel Number: 161.47-2-45




      (B) All buildings and other improvements that are located on the Property described in subsection (A) of
      this section;
      (C) All rights in other property that I have as owner of the Property described in subsection (A) of this
      section. These rights are known as "easements and appurtenances attached to the Property;"
      (D) All rights that I have in the land which lies in the streets or roads in front of, or next to, the Property
      described in subsection (A) of this section;
      (E) All fixtures that are now or in the future will be on the Property described in subsections (A) and (B)
      of this section;
      (F) All of the rights and property described in subsections (B) through (E) of this section that I acquire in
      the future; and
      (G) All replacements of or additions to the Property described in subsections (B) through (F) of this section
      and all Insurance Proceeds for loss or damage to, and all Miscellaneous Proceeds of the Property described
      in subsections (A) through (F) of this section.



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     BORROWER'SRIGHT TO MORTGAGETHE PROPERTYAND BORROWER'SOBLIGATION
     TO DEFENDOWNERSHIPOF THE PROPERTY
           I promise that: (A) I lawfully own the Property; (B) I have the right to mortgage, grant and convey
     the Property to Lender; and (C) there are no outstanding claims or charges against the Property, except for
     those which are of public record.
           I give a general warranty of title to Lender. This means that I will be fully responsible for any losses
     which Lender suffers because someone other than myself has some of the rights in the Property which I
     promise that I have. I promise that I will defend my ownership of the Property against any claims of such
     rights.

      PLAINLANGUAGESECURITYINSTRUMENT
           This Security Instrument contains promises and agreements that are used in real property security
     instruments all over the country. It also contains other promises and agreements that vary in different parts
     of the country. My promises and agreements are stated in "plain language."

      COVENANTS
           I promise and I agree with Lender as follows:
           1. Borrower's Promise to Pay. I will pay to Lender on time principal and interest due under the
     Note and any prepayment, late charges and other amounts due under the Note. I will also pay all amounts
     for Escrow Items under Section 3 of this Security Instrument.
           Payments due under the Note and this Security Instrument shall be made in U.S. currency. If any of
     my payments by check or other payment instrument is returned to Lender unpaid, Lender may require my
     payment be made by: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
     cashier's check, drawn upon an institution whose deposits are insured by a federal agency, instrumentality,
     or entity; or (d) Electronic Funds Transfer.
           Payments are deemed received by Lender when received at the location required in the Note, or at
     another location designated by Lender under Section 15 of this Security Instrument. Lender may return or
     accept any payment or partial payment if it is for an amount that is less than the amount that is then due. If
     Lender accepts a lesser payment, Lender may refuse to accept a lesser payment that I may make in the
     future and does not waive any of its rights. Lender is not obligated to apply such lesser payments when it
     accepts such payments. If interest on principal accrues as if all Periodic Payments had been paid when due,
     then Lender need not pay interest on unapplied funds. Lender may hold such unapplied funds until I make
     payments to bring the Loan current. If I do not do so within a reasonable period of time, Lender will either
     apply such funds or return them to me. In the event of foreclosure, any unapplied funds will be applied to
     the outstanding principal balance immediately prior to foreclosure. No offset or claim which I might have
     now or in the future against Lender will relieve me from making payments due under the Note and this
     Security Instrument or keeping all of my other promises and agreements secured by this Security
     Instrument.
           2. Application of Borrower's Payments and Insurance Proceeds. Unless Applicable Law or this
     Section 2 requires otherwise, Lender will apply each of my payments that Lender accepts in the following
     order:
     First, to pay interest due under the Note;
     Next, to pay principal due under the Note; and
     Next, to pay the amounts due Lender under Section 3 of this Security Instrument.
     Such payments will be applied to each Periodic Payment in the order in which it became due.
     Any remaining amounts will be applied as follows:
     First, to pay any late charges;
     Next, to pay any other amounts due under this Security Instrument; and
     Next, to reduce the principal balance of the Note.


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           If Lender receives a payment from me for a late Periodic Payment which includes a sufficient amount
     to pay any late charge due, the payment may be applied to the late Periodic Payment and the late charge. If
     more than one Periodic Payment is due, Lender may apply any payment received from me: First, to the
     repayment of the Periodic Payments that are due if, and to the extent that, each payment can be paid in
     full; Next, to the extent that any excess exists after the payment is applied to the full payment of one or
     more Periodic Payments, such excess may be applied to any late charges due.
           Voluntary prepayments will be applied as follows: First, to any prepayment charges; and Next, as
     described in the Note.
           Any application of payments, Insurance Proceeds, or Miscellaneous Proceeds to principal due under
     the Note will not extend or postpone the due date of the Periodic Payments or change the amount of those
     payments.
           3. Monthly Payments For Taxes And Insurance.
           (a) Borrower's Obligations.
           I will pay to Lender all amounts necessary to pay for taxes, assessments, water charges, sewer rents
     and other similar charges, ground leasehold payments or rents (if any), haz.ard or property insurance
     covering the Property, flood insurance (if any), and any required Mortgage Insurance, or a Loss Reserve
     as described in Section 10 in the place of Mortgage Insurance. Each Periodic Payment will include an
     amount to be applied toward payment of the following items which are called "Escrow Items:"
     (1) The taxes, assessments, water charges, sewer rents and other similar charges, on the Property which
     under Applicable Law may be superior to this Security Instrument as a Lien on the Property. Any claim,
     demand or charge that is made against property because an obligation has not been fulfilled is known as a
     "Lien;"
     (2) The leasehold payments or ground rents on the Property (if any);
     (3) The premium for any and all insurance required by Lender under Section 5 of this Security Instrument;
     (4) The premium for Mortgage Insurance (if any);
     (5) The amount I may be required to pay Lender under Section 10 of this Security Instrument instead of the
     payment of the premium for Mortgage Insurance (if any); and
     (6) If required by Lender, the amount for any Community Association Dues, Fees, and Assessments.
           After signing the Note, or at any time during its term, Lender may include these amounts as Escrow
     Items. The monthly payment I will make for Escrow Items will be based on Lender's estimate of the
     annual amount required.
           I will pay all of these amounts to Lender unless Lender tells me, in writing, that I do not have to do
     so, or unless Applicable Law requires otherwise. I will make these payments on the same day that my
     Periodic Payments of principal and interest are due under the Note.
           The amounts that I pay to Lender for Escrow Items under this Section 3 will be called "Escrow
     Funds." I will pay Lender the Escrow Funds for Escrow Items unless Lender waives my obligation to pay
     the Escrow Funds for any or all Escrow Items. Lender may waive my obligation to pay to Lender Escrow
     Funds for any or all Escrow Items at any time. Any such waiver must be in writing. In the event of such
     waiver, I will pay directly, when and where payable, the amounts due for any Escrow Items for which
     payment of Escrow Funds has been waived by Lender and, if Lender requires, will promptly send to
     Lender receipts showing such payment within such time period as Lender may require. My obligation to
     make such payments and to provide receipts will be considered to be a promise and agreement contained in
     this Security Instrument, as the phrase "promises and agreements" is used in Section 9 of this Security
     Instrument. If I am obligated to pay Escrow Items directly, pursuant to a waiver, and I fail to pay the
     amount due for an Escrow Item, Lender may pay that amount and I will then be obligated under Section 9
     of this Security Instrument to repay to Lender. Lender may revoke the waiver as to any or all Escrow Items
     at any time by a notice given in accordance with Section 15 of this Security Instrument and, upon the
     revocation, I will pay to Lender all Escrow Funds, and in amounts, that are then required under this
     Section 3.

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           I promise to promptly send to Lender any notices that I receive of Escrow Item amounts to be paid.
     Lender will estimate from time to time the amount of Escrow Funds I will have to pay by using existing
     assessments and bills and reasonable estimates of the amount I will have to pay for Escrow Items in the
     future, unless Applicable Law requires Lender to use another method for determining the amount I am to
     pay.
           Lender may, at any time, collect and hold Escrow Funds in an amount sufficient to permit Lender to
     apply the Escrow Funds at the time specified under RESPA. Applicable Law puts limits on the total
     amount of Escrow Funds Lender can at any time collect and hold. This total amount cannot be more than
     the maximum amount a lender could require under RESPA. If there is another Applicable Law that
     imposes a lower limit on the total amount of Escrow Funds Lender can collect and hold, Lender will be
     limited to the lower amount.
            (b) Lender's Obligations.
            Lender will keep the Escrow Funds in a savings or banking institution which has its deposits insured
     by a federal agency, instrumentality, or entity, or in any Federal Home Loan Bank. If Lender is such a
     savings or banking institution, Lender may hold the Escrow Funds. Lender will use the Escrow Funds to
     pay the Escrow Items no later than the time allowed under RESPA or other Applicable Law. Lender will
     give to me, without charge, an annual accounting of the Escrow Funds. That accounting will show all
     additions to and deductions from the Escrow Funds and the reason for each deduction.
            Lender may not charge me for holding or keeping the Escrow Funds, for using the Escrow Funds to
     pay Escrow Items, for making a yearly analysis of my payment of Escrow Funds or for receiving, or for
     verifying and totaling assessments and bills. However, Lender may charge me for these services if Lender
     pays me interest on the Escrow Funds and if Applicable Law permits Lender to make such a charge.
     Lender will not be required to pay me any interest or earnings on the Escrow Funds unless either (1)
     Lender and I agree in writing that Lender will pay interest on the Escrow Funds, or (2) Applicable Law
     requires Lender to pay interest on the Escrow Funds.
            (c) Adjustments to the Escrow Funds.
            Under Applicable Law, there is a limit on the amount of Escrow Funds Lender may hold. If the
     amount of Escrow Funds held by Lender exceeds this limit, then there will be an excess amount and
     RESPA requires Lender to account to me in a special manner for the excess amount of Escrow Funds.
            If, at any time, Lender has not received enough Escrow Funds to make the payments of Escrow Items
     when the payments are due, Lender may tell me in writing that an additional amount is necessary. I will
     pay to Lender whatever additional amount is necessary to pay the Escrow Items when the payments are
     due, but the number of payments will not be more than 12.
            When I have paid all of the Sums Secured, Lender will promptly refund to me any Escrow Funds that
     are then being held by Lender.
            4. Borrower's Obligation to Pay Charges, Assessments and Claims. I will pay all taxes,
     assessments, water charges, sewer rents and other similar charges, and any other charges and fines that
     may be imposed on the Property and that may be superior to this Security Instrument. I will also make
     ground rents or payments due under my lease if I am a tenant on the Property and Community Association
     Dues, Fees, and Assessments (if any) due on the Property. If these items are Escrow Items, I will do this
     by making the payments as described in Section 3 of this Security Instrument. In this Security Instrument,
      the word "Person" means any individual, organization, governmental authority or other party.
            I will promptly pay or satisfy all Liens against the Property that may be superior to this Security
      Instrument. However, this Security Instrument does not require me to satisfy a superior Lien if: (a) I
      agree, in writing, to pay the obligation which gave rise to the superior Lien and Lender approves the way
     in which I agree to pay that obligation, but only so long as I am performing such agreement; (b) in good
      faith, I argue or defend against the superior Lien in a lawsuit so that in Lender's opinion, during the
      lawsuit, the superior Lien may not be enforced, but only until the lawsuit ends; or (c) I secure from the
     holder of that other Lien an agreement, approved in writing by Lender, that the Lien of this Security

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      Instrument is superior to the Lien held by that Person. If Lender determines that any part of the Property is
      subject to a superior Lien, Lender may give Borrower a notice identifying the superior Lien. Within 10
      days of the date on which the notice is given, Borrower shall pay or satisfy the superior Lien or take one or
      more of the actions mentioned in this Section 4.
            Lender also may require me to pay a one-time charge for an independent real estate tax reporting
      service used by Lender in connection with the Loan, unless Applicable Law does not permit Lender to
      make such a charge.
            S. Borrower's Obligation to Maintain Hazard Insurance or Property Insurance. I will obtain
      hazard or property insurance to cover all buildings and other improvements that now are, or in the future
      will be, located on the Property. The insurance will cover loss or damage caused by fire, hazards normally
      covered by "Extended Coverage" hazard insurance policies, and any other hazards for which Lender
      requires coverage, including, but not limited to earthquakes and floods. The insurance will be in the
      amounts (including, but not limited to, deductible levels) and for the periods of time required by Lender.
      What Lender requires under the last sentence can change during the term of the Loan. I may choose the
      insurance company, but my choice is subject to Lender's right to disapprove. Lender may not disapprove
      my choice unless the disapproval is reasonable. Lender may require me to pay either (a) a one-time charge
      for flood zone determination, certification and tracking services, or (b) a one-time charge for flood zone
      determination and certification services and subsequent charges each time remappings or similar changes
      occur which reasonably might affect the flood zone determination or certification. If I disagree with the
      flood zone determination, I may request the Federal Emergency Management Agency to review the flood
      zone determination and I promise to pay any fees charged by the Federal Emergency Management Agency
      for its review.
            If I fail to maintain any of the insurance coverages described above, Lender may obtain insurance
      coverage, at Lender's option and my expense. Lender is under no obligation to purchase any particular
      type or amount of coverage. Therefore, such coverage will cover Lender, but might or might not protect
      me, my equity in the Property, or the contents of the Property, against any risk, hazard or liability and
      might provide greater or lesser coverage than was previously in effect. I acknowledge that the cost of the
      insurance coverage so obtained might significantly exceed the cost of insurance that I could have obtained.
      Any amounts disbursed by Lender under this Section 5 will become my additional debt secured by this
      Security Instrument. These amounts will bear interest at the interest rate set forth in the Note from the date
      of disbursement and will be payable with such interest, upon notice from Lender to me requesting
      payment.
            All of the insurance policies and renewals of those policies will include what is known as a "Standard
      Mortgage Clause" to protect Lender and will name Lender as mortgagee and/or as an additional loss payee.
      The form of all policies and renewals will be acceptable to Lender. Lender will have the right to hold the
      policies and renewal certificates. If Lender requires, I will promptly give Lender all receipts of paid
      premiums and renewal notices that I receive.
            If I obtain any form of insurance coverage, not otherwise required by Lender, for damage to, or
      destruction of, the Property, such policy will include a Standard Mortgage Oause and will name Lender as
      mortgagee and/or as an additional loss payee.
            If there is a loss or damage to the Property, I will promptly notify the insurance company and
      Lender. If I do not promptly prove to the insurance company that the loss or damage occurred, then Lender
      may do so.
            The amount paid by the insurance company for loss or damage to the Property is called "Insurance
      Proceeds." Unless Lender and I otherwise agree in writing, any Insurance Proceeds, whether or not the
      underlying insurance was required by Lender, will be used to repair or to restore the damaged Property
      unless: (a) it is not economically feasible to make the repairs or restoration; (b) the use of the Insurance
      Proceeds for that purpose would lessen the protection given to Lender by this Security Instrument; or (c)


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      Lender and I have agreed in writing not to use the Insurance Proceeds for that purpose. During the period
      that any repairs or restorations are being made, Lender may hold any Insurance Proceeds until it has had an
      opportunity to inspect the Property to verify that the repair work has been completed to Lender's
      satisfaction. However, this inspection will be done promptly. Lender may make payments for the repairs
      and restorations in a single payment or in a series of progress payments as the work is completed. Unless
      Lender and I agree otherwise in writing or unless Applicable Law requires otherwise, Lender is not
      required to pay me any interest or earnings on the Insurance Proceeds. I will pay for any public adjusters
      or other third parties that I hire, and their fees will not be paid out of the Insurance Proceeds. If the repair
      or restoration is not economically feasible or if it would lessen Lender's protection under this Security
      Instrument, then the Insurance Proceeds will be used to reduce the amount that I owe to Lender under this
      Security Instrument. Such Insurance Proceeds will be applied in the order provided for in Section 2. If any
      of the Insurance Proceeds remain after the amount that I owe to Lender has been paid in full, the remaining
      Insurance Proceeds will be paid to me.
            If I abandon the Property, Lender may file, negotiate and settle any available insurance claim and
      related matters. If I do not answer, within 30 days, a notice from Lender stating that the insurance
      company has offered to settle a claim, Lender may negotiate and settle the claim. The 30-day period will
      begin when the notice is given. In either event, or if Lender acquires the Property under Section 22 of this
      Security Instrument or otherwise, I give Lender my rights to any Insurance Proceeds in an amount not
      greater than the amounts unpaid under the Note and this Security Instrument. I also give Lender any other
      of my rights (other than the right to any refund of unearned premiums that I paid) under all insurance
      policies covering the Property, if the rights are applicable to the coverage of the Property. Lender may use
      the Insurance Proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or
      this Security Instrument, whether or not then due.
            6. Borrower's Obligations to Occupy The Property. I will occupy the Property and use the
      Property as my principal residence within 60 days after I sign this Security Instrument. I will continue to
      occupy the Property and to use the Property as my principal residence for at least one year. The one-year
      period will begin when I first occupy the Property. However, I will not have to occupy the Property and
      use the Property as my principal residence within the time frames set forth above if Lender agrees in
      writing that I do not have to do so. Lender may not refuse to agree unless the refusal is reasonable. I also
      will not have to occupy the Property and use the Property as my principal residence within the time frames
      set forth above if extenuating circumstances exist which are beyond my control.
            7. Borrower's Obligations to Maintain And Protect The Property And to Fulfill Any Lease
      Obligations.
            (a) Maintenance and Protection of the Property.
            I will not destroy, damage or harm the Property, and I will not allow the Property to deteriorate.
      Whether or not I am residing in the Property, I will keep the Property in good repair so that it will not
      deteriorate or decrease in value due to its condition. Unless it is determined under Section 5 of this
      Security Instrument that repair is not economically feasible, I will promptly repair the Property if damaged
      to avoid further deterioration or damage. If insurance or Condemnation (as defined in the definition of
      Miscellaneous Proceeds) proceeds are paid because of loss or damage to, or Condemnation of, the
      Property, I will repair or restore the Property only if Lender has released those proceeds for such purposes.
      Lender may pay for the repairs and restoration out of proceeds in a single payment or in a series of
      progress payments as the work is completed. If the insurance or Condemnation proceeds are not sufficient
      to repair or restore the Property, I promise to pay for the completion of such repair or restoration.
            (b) Lender's Inspection of Property.
            Lender, and others authorized by Lender, may enter on and inspect the Property. They will do so in a
      reasonable manner and at reasonable times. If it has a reasonable purpose, Lender may inspect the inside of
       the home or other improvements on the Property. Before or at the time an inspection is made, Lender will
      give me notice stating a reasonable purpose for such interior inspection.


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            8. Borrower's Loan Application. If, during the application process for the Loan, I, or any Person or
      entity acting at my direction or with my knowledge or consent, made false, misleading, or inaccurate
      statements to Lender about information important to Lender in determining my eligibility for the Loan (or
      did not provide Lender with such information), Lender will treat my actions as a default under this
      Security Instrument. False, misleading, or inaccurate statements about information important to Lender
      would include a misrepresentation of my intention to occupy the Property as a principal residence. This is
      just one example of a false, misleading, or inaccurate statement of important information.
            9. Lender's Right to Protect Its Rights in The Property. If: (a) I do not keep my promises and
      agreements made in this Security Instrument; (b) someone, including me, begins a legal proceeding that
      may significantly affect Lender's interest in the Property or rights under this Security Instrument (such as a
      legal proceeding in bankruptcy, in probate, for Condemnation or Forfeiture (as defined in Section 11),
      proceedings which could give a Person rights which could equal or exceed Lender's interest in the Property
      or under this Security Instrument, proceedings for enforcement of a Lien which may become superior to
      this Security Instrument, or to enforce laws or regulations); or (c) I have abandoned the Property, then
      Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the
      Property and Lender's rights under this Security Instrument.
             Lender's actions may include, but are not limited to: (a) protecting and/or assessing the value of the
      Property; (b) securing and/or repairing the Property; (c) paying sums to eliminate any Lien against the
      Property that may be equal or superior to this Security Instrument; (d) appearing in court; and (e) paying
      reasonable attorneys' fees to protect its interest in the Property and/or rights under this Security
      Instrument, including its secured position in a bankruptcy proceeding. Lender can also enter the Property
      to make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate
      building or other code violations or dangerous conditions, have utilities turned on or off, and take any
       other action to secure the Property. Although Lender may take action under this Section 9, Lender does not
      have to do so and is under no duty to do so. I agree that Lender will not be liable for not taking any or all
       actions under this Section 9.
             I will pay to Lender any amounts, with interest, which Lender spends under this Section 9. I will pay
       those amounts to Lender when Lender sends me a notice requesting that I do so. I will pay interest on
       those amounts at the interest rate set forth in the Note. Interest on each amount will begin on the date that
       the amount is spent by Lender. This Security Instrument will protect Lender in case I do not keep this
      promise to pay those amounts with interest.
             If I do not own, but am a tenant on the Property, I will fulfill all my obligations under my lease. I
       also agree that, if I acquire the full title (sometimes called "Fee Title") to the Property, my lease interest
       and the Fee Title will not merge unless Lender agrees to the merger in writing.
             10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
       I will pay the premiums for the Mortgage Insurance. If, for any reason, the Mortgage Insurance coverage
       ceases to be available from the mortgage insurer that previously provided such insurance and Lender
       required me to make separate payments toward the premiums for Mortgage Insurance, I will pay the
      premiums for substantially equivalent Mortgage Insurance coverage from an alternate mortgage insurer.
       However, the cost of this Mortgage Insurance coverage will be substantially equivalent to the cost to me of
       the previous Mortgage Insurance coverage, and the alternate mortgage insurer will be selected by Lender.
             If substantially equivalent Mortgage Insurance coverage is not available, Lender will establish a
       non-refundable "Loss Reserve" as a substitute for the Mortgage Insurance coverage. I will continue to pay
       to Lender each month an amount equal to one-twelfth of the yearly Mortgage Insurance premium (as of the
       time the coverage lapsed or ceased to be in effect). Lender will retain these payments, and will use these
       payments to pay for losses that the Mortgage Insurance would have covered. The Loss Reserve is
       non-refundable even if the Loan is ultimately paid in full and Lender is not required to pay me any interest
       on the Loss Reserve. Lender can no longer require Loss Reserve payments if: (a) Mortgage Insurance


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      coverage again becomes available through an insurer selected by Lender; (b) such Mortgage Insurance is
      obtained; (c) Lender requires separately designated payments toward the premiums for Mortgage
      Insurance; and (d) the Mortgage Insurance coverage is in the amount and for the period of time required by
      Lender.
           If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was required
      to make separate payments toward the premiums for Mortgage Insurance, I will pay the Mortgage
      Insurance premiums, or the Loss Reserve payments, until the requirement for Mortgage Insurance ends
      according to any written agreement between Lender and me providing for such termination or until
      termination of Mortgage Insurance is required by Applicable Law. Lender may require me to pay the
      premiums, or the Loss Reserve payments, in the manner described in Section 3 of this Security Instrument.
      Nothing in this Section 10 will affect my obligation to pay interest at the rate provided in the Note.
           A Mortgage Insurance policy pays Lender (or any entity that purchases the Note) for certain losses it
      may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage
      Insurance policy.
            Mortgage insurers assess their total risk on all Mortgage Insurance from time to time. Mortgage
      insurers may enter into agreements with other parties to share or change their risk, or to reduce losses.
      These agreements are based on terms and conditions that are satisfactory to the mortgage insurer and the
      other party (or parties) to these agreements. These agreements may require the mortgage insurer to make
      payments using any source of funds that the mortgage insurer may have available (which may include
      Mortgage Insurance premiums).
           As a result of these agreements, Lender, any owner of the Note, another insurer, any reinsurer, or
      any other entity may receive (directly or indirectly) amounts that come from a portion of Borrower's
      payments for Mortgage Insurance, in exchange for sharing or changing the mortgage insurer's risk, or
      reducing losses. If these agreements provide that an affiliate of Lender takes a share of the insurer's risk in
      exchange for a share of the premiums paid to the insurer, the arrangement is often termed "captive
      reinsurance." It also should be understood that: (a) any of these agreements will not affect the amounts that
      Borrower has agreed to pay for Mortgage Insurance, or any other terms of the Loan. These agreements
      will not increase the amount Borrower will owe for Mortgage Insurance, and they will not entitle Borrower
      to any refund; and (b) any of these agreements will not affect the rights Borrower has - if any - regarding
      the Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
      include the right (a) to receive certain disclosures, (b) to request and obtain cancellation of the Mortgage
      Insurance, (c) to have the Mortgage Insurance terminated automatically, and/or (d) to receive a refund of
      any Mortgage Insurance premiums that were not earned at the time of such cancellation or termination.
            11. Agreements About Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are
      assigned to and will be paid to Lender.
            If the Property is damaged, such Miscellaneous Proceeds will be applied to restoration or repair of the
      Property, if (a) the restoration or repair is economically feasible, and (b) Lender's security given in this
      Security Instrument is not lessened. During such repair and restoration period, Lender will have the right
      to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect the Property to verify
      that the work has been completed to Lender's satisfaction. However, the inspection will be undertaken
      promptly. Lender may pay for the repairs and restoration in a single disbursement or in a series of progress
      payments as the work is completed. Unless Lender and I agree otherwise in writing or unless Applicable
      Law requires interest to be paid on such Miscellaneous Proceeds, Lender will not be required to pay
      Borrower any interest or earnings on the Miscellaneous Proceeds. If the restoration or repair is not
      economically feasible or Lender's security given in this Security Instrument would be lessened, the
      Miscellaneous Proceeds will be applied to the Sums Secured, whether or not then due. The excess, if any,
      will be paid to me. Such Miscellaneous Proceeds will be applied in the order provided for in Section 2.
            In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
      Proceeds will be applied to the Sums Secured, whether or not then due. The excess, if any, will be paid to
      me.
            In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
      value of the Property immediately before the partial taking, destruction, or loss in value is equal to or
      greater than the amount of the Sums Secured immediately before the partial taking, destruction, or loss in

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      value, the Sums Secured will be reduced by the amount of the Miscellaneous Proceeds multiplied by the
      following fraction: (a) the total amount of the Sums Secured immediately before the partial taking,
      destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
      partial taking, destruction, or loss in value. Any balance shall be paid to me.
            In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
      value of the Property immediately before the partial taking, destruction, or loss in value is less than the
      amount of the Sums Secured immediately before the partial taking, destruction, or loss in value, the
      Miscellaneous Proceeds will be applied to the Sums Secured whether or not the sums are then due.
            If I abandon the Property, or if, after Lender sends me notice that the Opposing Party (as defined in
      the next sentence) offered to make an award to settle a claim for damages, I fail to respond to Lender
      within 30 days after the date Lender gives notice, Lender is authorized to collect and apply the
      Miscellaneous Proceeds either to restoration or repair of the Property or to the Sums Secured, whether or
      not then due. "Opposing Party" means the third party that owes me Miscellaneous Proceeds or the party
      against whom I have a right of action in regard to Miscellaneous Proceeds.
             I will be in default under this Security Instrument if any civil or criminal action or proceeding that
      Lender determines could result in a court ruling (a) that would require Forfeiture of the Property, or (b)
      that could damage Lender's interest in the Property or rights under this Security Instrument. "Forfeiture" is
      a court action to require the Property, or any part of the Property, to be given up. I may correct the default
      by obtaining a court ruling that dismisses the court action, if Lender determines that this court ruling
      prevents Forfeiture of the Property and also prevents any damage to Lender's interest in the Property or
      rights under this Security Instrument. If I correct the default, I will have the right to have enforcement of
      this Security Instrument discontinued, as provided in Section 19 of this Security Instrument, even if Lender
      has required Immediate Payment in Full (as defined in Section 22). The proceeds of any award or claim for
      damages that are attributable to the damage or reduction of Lender's interest in the Property are assigned,
      and will be paid, to Lender.
             All Miscellaneous Proceeds that are not applied to restoration or repair of the Property will be applied
      in the order provided for in Section 2.
             12. Continuation of Borrower's Obligations And of Lender's Rights.
             (a) Borrower's Obligations.
             Lender may allow me, or a Person who takes over my rights and obligations, to delay or to change
      the amount of the Periodic Payments. Even if Lender does this, however, I will still be fully obligated
      under the Note and under this Security Instrument unless Lender agrees to release me, in writing, from my
      obligations.
             Lender may allow those delays or changes for me or a Person who takes over my rights and
      obligations, even if Lender is requested not to do so. Even if Lender is requested to do so, Lender will not
      be required to (1) bring a lawsuit against me or such a Person for not fulfilling obligations under the Note
      or under this Security Instrument, or (2) refuse to extend time for payment or otherwise modify
      amortization of the Sums Secured.
             (b) Lender's Rights.
             Even if Lender does not exercise or enforce any right of Lender under this Security Instrument or
      under Applicable Law, Lender will still have all of those rights and may exercise and enforce them in the
       future. Even if: (1) Lender obtains insurance, pays taxes, or pays other claims, charges or Liens against the
      Property; (2) Lender accepts payments from third Persons; or (3) Lender accepts payments in amounts less
      than the amount then due, Lender will have the right under Section 22 below to demand that I make
       Immediate Payment in Full of any amounts remaining due and payable to Lender under the Note and under
       this Security Instrument.
             13. Obligations of Borrower And of Persons Taking Over Borrower's Rights or Obligations. If
       more than one Person signs this Security Instrument as Borrower, each of us is fully obligated to keep all
       of Borrower's promises and obligations contained in this Security Instrument. Lender may enforce
       Lender's rights under this Security Instrument against each of us individually or against all of us together.
       This means that any one of us may be required to pay all of the Sums Secured. However, if one of us does
       not sign the Note: (a) that Person is signing this Security Instrument only to give that Person's rights in the
       Property to Lender under the terms of this Security Instrument; (b) that Person is not personally obligated
       to pay the Sums Secured; and (c) that Person agrees that Lender may agree with the other Borrowers to

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      delay enforcing any of Lender's rights, to modify, or make any accommodations with regard to the terms
      of this Security Instrument or the Note without that Person's consent.
            Subject to the provisions of Section 18 of this Security Instrument, any Person who takes over my
      rights or obligations under this Security Instrument in writing, and is approved by Lender in writing, will
      have all of my rights and will be obligated to keep all of my promises and agreements made in this Security
      Instrument. Borrower will not be released from Borrower's obligations and liabilities under this Security
      Instrument unless Lender agrees to such release in writing. Any Person who takes over Lender's rights or
      obligations under this Security Instrument will have all of Lender's rights and will be obligated to keep all
      of Lender's promises and agreements made in this Security Instrument except as provided under Section
      20.
            14. Loan Charges. Lender may charge me fees for services performed in connection with my
      default, for the purpose of protecting Lender's interest in the Property and rights under this Security
      Instrument, including, but not limited to, attorneys' fees, property inspection and valuation fees. With
      regard to other fees, the fact that this Security Instrument does not expressly indicate that Lender may
      charge a certain fee does not mean that Lender cannot charge that fee. Lender may not charge fees that are
      prohibited by this Security Instrument or by Applicable Law.
            If the Loan is subject to Applicable Law which sets maximum loan charges, and that Applicable Law
      is finally interpreted so that the interest or other loan charges collected or to be collected in connection
      with the Loan exceed permitted limits: (a) any such loan charge will be reduced by the amount necessary to
      reduce the charge to the permitted limit; and (b) any sums already collected from me which exceeded
      permitted limits will be refunded to me. Lender may choose to make this refund by reducing the principal
      owed under the Note or by making a direct payment to Borrower. If a refund reduces principal, the
      reduction will be treated as a partial prepayment without any prepayment charge (even if a prepayment
      charge is provided for under the Note). If I accept such a refund that is paid directly to me, I will waive
      any right to bring a lawsuit against Lender because of the overcharge.
            15. Notices Required under this Security Instrument. All notices given by me or Lender in
      connection with this Security Instrument will be in writing. Any notice to me in connection with this
      Security Instrument is considered given to me when mailed by first class mail or when actually delivered to
      my notice address if sent by other means. Notice to any one Borrower will be notice to all Borrowers
      unless Applicable Law expressly requires otherwise. The notice address is the address of the Property
      unless I give notice to Lender of a different address. I will promptly notify Lender of my change of
      address. If Lender specifies a procedure for reporting my change of address, then I will only report a
      change of address through that specified procedure. There may be only one designated notice address under
      this Security Instrument at any one time. Any notice to Lender will be given by delivering it or by mailing
      it by first class mail to Lender's address stated on the first page of this Security Instrument unless Lender
      has given me notice of another address. Any notice in connection with this Security Instrument is given to
      Lender when it is actually received by Lender. If any notice required by this Security Instrument is also
      required under Applicable Law, the Applicable Law requirement will satisfy the corresponding
      requirement under this Security Instrument.
            16. Law That Governs this Security Instrument; Word Usage. This Security Instrument is
      governed by federal law and the law of New York State. All rights and obligations contained in this
      Security Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law
      might allow the parties to agree by contract or it might be silent, but such silence does not mean that
      Lender and I cannot agree by contract. If any term of this Security Instrument or of the Note conflicts with
      Applicable Law, the conflict will not affect other provisions of this Security Instrument or the Note which
      can operate, or be given effect, without the conflicting provision. This means that the Security Instrument
      or the Note will remain as if the conflicting provision did not exist.
            As used in this Security Instrument: (a) words of the masculine gender mean and include
      corresponding words of the feminine and neuter genders; (b) words in the singular mean and include the
      plural, and words in the plural mean and include the singular; and (c) the word "may" gives sole discretion
      without any obligation to take any action.
            17. Borrower's Copy. I will be given one copy of the Note and of this Security Instrument.
            18. Agreements about Lender's Rights H the Property Is Sold or Transferred. Lender may
      require Immediate Payment in Full of all Sums Secured by this Security Instrument if all or any part of the
      Property, or if any right in the Property, is sold or transferred without Lender's prior written permission.

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      If Borrower is not a natural Person and a beneficial interest in Borrower is sold or transferred without
      Lender's prior written permission, Lender also may require Immediate Payment in Full. However, this
      option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
            If Lender requires Immediate Payment in Full under this Section 18, Lender will give me a notice
      which states this requirement. The notice will give me at least 30 days to make the required payment. The
      30-day period will begin on the date the notice is given to me in the manner required by Section 15 of this
      Security Instrument. If I do not make the required payment during that period, Lender may act to enforce
      its rights under this Security Instrument without giving me any further notice or demand for payment.
            19. Borrower's Right to Have Lender's Enforcement of this Security Instrument Discontinued.
      Even if Lender has required Immediate Payment in Full, I may have the right to have enforcement of this
      Security Instrument stopped. I will have this right at any time before the earliest of: (a) five days before
      sale of the Property under any power of sale granted by this Security Instrument; (b) another period as
      Applicable Law might specify for the termination of my right to have enforcement of the Loan stopped; or
      (c) a judgment has been entered enforcing this Security Instrument. In order to have this right, I will meet
      the following conditions:
            (a) I pay to Lender the full amount that then would be due under this Security Instrument and the
            Note as if Immediate Payment in Full had never been required;
            (b) I correct my failure to keep any of my other promises or agreements made in this Security
            Instrument;
            (c) I pay all of Lender's reasonable expenses in enforcing this Security Instrument including, for
            example, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred
            for the purpose of protecting Lender's interest in the Property and rights under this Security
            Instrument; and
             (d) I do whatever Lender reasonably requires to assure that Lender's interest in the Property and
            rights under this Security Instrument and my obligations under the Note and under this Security
            Instrument continue unchanged.
            Lender may require that I pay the sums and expenses mentioned in (a) through (d) in one or more of
      the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
      treasurer's check or cashier's check drawn upon an institution whose deposits are insured by a federal
      agency, instrumentality or entity; or (d) Electronic Funds Transfer.
             If I fulfill all of the conditions in this Section 19, then this Security Instrument will remain in full
      effect as if Immediate Payment in Full had never been required. However, I will not have the right to have
      Lender's enforcement of this Security Instrument discontinued if Lender has required Immediate Payment
      in Full under Section 18 of this Security Instrument.
             20. Note Holder's Right to Sell the Note or an Interest in the Note; Borrower's Right to Notice
      of Change of Loan Servicer; Lender's and Borrower's Right to Notice of Grievance. The Note, or an
      interest in the Note, together with this Security Instrument, may be sold one or more times. I might not
      receive any prior notice of these sales.
             The entity that collects the Periodic Payments and performs other mortgage loan servicing obligations
      under the Note, this Security Instrument, and Applicable Law is called the "Loan Servicer." There may be
       a change of the Loan Servicer as a result of the sale of the Note. There also may be one or more changes of
       the Loan Servicer unrelated to a sale of the Note. Applicable Law requires that I be given written notice of
       any change of the Loan Servicer. The notice will state the name and address of the new Loan Servicer, and
       also tell me the address to which I should make my payments. The notice also will contain any other
       information required by RESPA or Applicable Law. If the Note is sold and thereafter the Loan is serviced
       by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations to me will
       remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by the
       Note purchaser unless otherwise provided by the Note purchaser.
             Neither I nor Lender may commence, join or be joined to any court action (as either an individual
       party or the member of a class) that arises from the other party's actions pursuant to this Security
       Instrument or that alleges that the other has not fulfilled any of its obligations under this Security
       Instrument, unless the other is notified (in the manner required under Section 15 of this Security
       Instrument) of the unfulfilled obligation and given a reasonable time period to take corrective action. If
       Applicable Law provides a time period which will elapse before certain action can be taken, that time


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      period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
      opportunity to cure given to me under Section 22 and the notice of the demand for payment in full given to
      me under Section 22 will be deemed to satisfy the notice and opportunity to take corrective action
      provisions of this Section 20. All rights under this paragraph are subject to Applicable Law.
            21. Continuation of Borrower's Obligations to Maintain and Protect the Property. The federal
      laws and the laws of New York State that relate to health, safety or environmental protection are called
      "Environmental Law." Environmental Law classifies certain substances as toxic or hazardous. There are
      other substances that are considered hazardous for purposes of this Section 21. These substances are
      gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile
      solvents, materials containing asbestos or formaldehyde, and radioactive materials. The substances defined
      as toxic or hazardous by Environmental Law and the substances considered hazardous for purposes of this
      Section 21 are called "Hazardous Substances." "Environmental Cleanup" includes any response action,
      remedial action, or removal action, as defined in Environmental Law. An "Environmental Condition"
      means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.
            I will not do anything affecting the Property that violates Environmental Law, and I will not allow
      anyone else to do so. I will not cause or permit Hazardous Substances to be present on the Property. I will
      not use or store Hazardous Substances on the Property. I also will not dispose of Hazardous Substances on
      the Property, or release any Hazardous Substance on the Property, and I will not allow anyone else to do
      so. I also will not do, nor allow anyone else to do, anything affecting the Property that: (a) is in violation
      of any Environmental Law; (b) creates an Environmental Condition; or (c) which, due to the presence,
      use, or release of a Hazardous Substance, creates a condition that adversely affects the value of the
      Property. The promises in this paragraph do not apply to the presence, use, or storage on the Property of
      small quantities of Hazardous Substances that are generally recognized as appropriate for normal residential
      use and maintenance of the Property (including, but not limited to, Hazardous Substances in consumer
      products). I may use or store these small quantities on the Property. In addition, unless Environmental
      Law requires removal or other action, the buildings, the improvements and the fixtures on the Property are
      permitted to contain asbestos and asbestos-containing materials if the asbestos and asbestos-containing
      materials are undisturbed and "non-friable" (that is, not easily crumbled by hand pressure).
            I will promptly give Lender written notice of: (a) any investigation, claim, demand, lawsuit or other
      action by any governmental or regulatory agency or private party involving the Property and any
      Hazardous Substance or Environmental Law of which I have actual knowledge; (b) any Environmental
      Condition, including but not limited to, any spilling, leaking, discharge, release or threat of release of any
      Hazardous Substance; and (c) any condition caused by the presence, use or release of a Hazardous
      Substance which adversely affects the value of the Property. If I learn, or any governmental or regulatory
      authority, or any private party, notifies me that any removal or other remediation of any Hazardous
      Substance affecting the Property is necessary, I will promptly take all necessary remedial actions in
      accordance with Environmental Law.
            Nothing in this Security Instrument creates an obligation on Lender for an Environmental Cleanup.

      NON-UNIFORM COVENANTS

      I also promise and agree with Lender as follows:
            22. Lender's Rights If Borrower Fails to Keep Promises and Agreements. Except as provided in
      Section 18 of this Security Instrument, if all of the conditions stated in subsections (a), (b) and (c) of
      this Section 22 are met, Lender may require that I pay immediately the entire amount then
      remaining unpaid under the Note and under this Security Instrument. Lender may do this without
      making any further demand for payment. This requirement is called "Immediate Payment in Full."
            If Lender requires Immediate Payment in Full, Lender may bring a lawsuit to take away all of
      my remaining rights in the Property and have the Property sold. At this sale Lender or another
      Person may acquire the Property. This is known as "Foreclosure and Sale." In any lawsuit for
      Foreclosure and Sale, Lender will have the right to collect all costs and disbursements and additional
      allowances allowed by Applicable Law and will have the right to add all reasonable attorneys' fees to


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      the amount I owe Lender, which fees shall become part of the Sums Secured.
            Lender may require Immediate Payment in Full under this Section 22 only if all of the following
      conditions are met:
      (a) I fail to keep any promise or agreement made in this Security Instrument or the Note, including,
      but not limited to, the promises to pay the Sums Secured when due, or if another default occurs
      under this Security Instrument;
      (b) Lender sends to me, in the manner described in Section 15 of this Security Instrument, a notice
      that states:
                  (1) The promise or agreement that I failed to keep or the default that has occurred;
                  (2) The action that I must take to correct that default;
                  (3) A date by which I must correct the default. That date will be at least 30 days from the
                  date on which the notice is given;
                  (4) That if I do not correct the default by the date stated in the notice, Lender may require
                  Immediate Payment in Full, and Lender or another Person may acquire the Property by
                  means of Foreclosure and Sale;
                  (5) That if I meet the conditions stated in Section 19 of this Security Instrument, I will have
                  the right to have Lender's enforcement of this Security Instrument stopped and to have the
                  Note and this Security Instrument remain fully effective as if Immediate Payment in Full
                  had never been required; and
                  (6) That I have the right in any lawsuit for Foreclosure and Sale to argue that I did keep
                  my promises and agreements under the Note and under this Security Instrument, and to
                  present any other defenses that I may have; and
      (c) I do not correct the default stated in the notice from Lender by the date stated in that notice.
            23. Lender's Obligation to Discharge this Security Instrument. When Lender has been paid all
      amounts due under the Note and under this Security Instrument, Lender will discharge this Security
      Instrument by delivering a certificate stating that this Security Instrument has been satisfied. I will pay all
      costs of recording the discharge in the proper official records. I agree to pay a fee for the discharge of this
      Security Instrument, if Lender so requires. Lender may require that I pay such a fee, but only if the fee is
      paid to a third party for services rendered and the charging of the fee is permitted by Applicable Law.
            24. Agreements about New York Lien Law. I will receive all amounts lent to me by Lender subject
      to the trust fund provisions of Section 13 of the New York Lien Law. This means that I will: (a) hold all
      amounts which I receive and which I have a right to receive from Lender under the Note as a trust fund;
      and (b) use those amounts to pay for "Cost of Improvement" (as defined in Section 13 of the New York
      Lien Law) before I use them for any other purpose. The fact that I am holding those amounts as a trust
      fund means that for any building or other improvement located on the Property I have a special
      responsibility under the law to use the amount in the manner described in this Section 24.
            25. Borrower's Statement Regarding the Property [check box as applicable].

              ciThis Security Instrument covers real property improved, or to be improved, by a one or two
                family dwelling only.
              D This Security Instrument covers real property principally improved, or to be improved, by one
                or more structures containing, in the aggregate, not more than six residential dwelling units with
                each dwelling unit having its own separate cooking facilities.
              D This Security Instrument does not cover real property improved as described above.




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           BY SIGNING BELOW, I accept and agree to the promises and agreements contained in pages 1
      through 17 of this Security Instrument and in any Rider signed by me and recorded with it.

      Witnesses:




                                                        ______________                         (Seal)
                                                                                            -Borrower




      ____________                          (Seal)      ______________                         (Seal)
                                         -Borrower                                          -Borrower




      _____________                         (Seal)      ______________                         (Seal)
                                         -Borrower                                          -Borrower




      ____________                          (Seal)      ______________                         (Seal)
                                          -Borrower                                         -Borrower




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      STATEOF NEWYORK,                                                                   County ss:   ;!tr 2-t!JU--?

           On the       7 f:!J day of                         ~b            before me, the undersigned, a notary
      public in and for said state, personally appeared (__ I   5c.,,__5~ (l_e~        c~




      personally known to me or proved to me on the basis of satisfactory evidence to be the individual(s) whose
      name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the
      same in his/her/their capacity(ies), and that by his/her/their signature(s) on the instrument, the
      individual(s), or the person upon behalf of which the individual(s) a  , executed the instrument.

                      CHERYLA. MAPP
                NotaryPublic, State of New Yortc
                       NC?,.01 ~A6087811
                       in Erie County rl/V"/1
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         MyComm1ss1onExpires Feb. 24, _d_ll.A/
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      Tax Map Information:




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                                     EXHIBIT A

       ALL THAT TRACT OR PARCEL OF LAND, SITUATE IN THE CITY OF
       NIAGARA FALLS, COUNTY OF NIA~    AND STATE OF NEW YORK
       BEING PART OF LOT 25 ON THE EAST SIDE OF TOMPKINS STREET
       (NOW 91ST STREET) AS SAID LOT IS SHOWNON MAP OF PART OF
       LOT 58 MILE RESERVE 1898 AND FILED IN NIAGARA COUNTY
       CLERK'S OFFICE ON NOVEMBER29, 1898, IN BOOK 8 OF MAPS AT
       PAGE 16, THE PART OF SAID LOT BEING PARTICULARLY BOUNDED
       AND DESCRIBED AS FOLLOWS:

       BEGINNING AT A POINT IN THE EAST LINE OF 91ST STREET, 50
       FEET SOUTH OF THE POINT OF INTERSECTION OF THE EAST LINE OF
       SAID STREET WITH THE SOUTH LINE OF SHANTZ AVENUE MEASURED
       ALONG THE EAST LINE OF SAID STREET; RUNNING THENCE EASTERLY
       ALONG A LINE PARALLEL TO THE SOUTH LINE OF SHANTZ AVENUE
       132 FEET TO A POINT; RUNNING THENCE SOUTHERLY ALONG A LINE
       PARALLEL TO THE EASTERLY LINE OF 91ST STREET, 52 FEET TO A
       POINT IN THE SOUTH LINE OF SAID LOT 25; RUNNING THENCE
       WESTERLY ALONG THE SOUTH LINE OF SAID LOT 25, 132 FEET TO
       THE EAST LINE OF 91ST STREET; RUNNING THENCE ALONG THE EAST
       LINE OF 91ST STREET, 52 FEET TO THE PLACE OF BEGINNING.

       ADDRESS: 1053 91ST ST.;         NIAGARA FALLS, NY 14304                              TAX MAP
       NUMBER: 161.47-2-45


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